                       SO ORDERED: January 15, 2021.




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                       Jeffrey J. Graham
                       United States Bankruptcy Judge




                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA
                         INDIANAPOLIS DIVISION

IN RE:                                 )
                                       )
ALLEN DAVID FREEMAN and                )
DEMONA FREEMAN,                        )     Case No. 12-04713-JJG-13
                                       )
      Debtors.                         )

       ORDER GRANTING DEBTORS’ MOTION TO REOPEN AND
  OVERRULING PHH MORTGAGE CORPORATION’S OBJECTION THERETO

      This comes before the Court on Debtors Allen David Freeman and Demona

Freeman’s (“Debtors”) Motion to Reopen Case (the “Motion”) and PHH Mortgage

Corporation’s Objection thereto (the “Objection”). For the reasons stated below, the

Court GRANTS the Motion and OVERRULES the Objection.

      This is the second request by Debtors to reopen their bankruptcy case, which

was originally closed upon being fully administered in February of 2018. The first

motion to reopen was filed on December 28, 2019, and indicated that Debtor wished
to reopen the case to file “a Complaint for Damages and Sanctions against PHH

Mortgage Corporation.” 1

       The Order granting that motion was entered the next day and gave Debtors

14 days to file the referenced complaint. Debtors failed to timely file the Complaint,

and the Court reclosed the case on January 13th. Debtors renewed their request by

filing the Motion later that same day. By way of the Objection, PHH argues that

Debtors are not entitled to reopen their case because they missed the deadline to

file the Complaint.

       PHH misreads the nature and purpose of the 14-day deadline stated in the

Order granting Debtors’ initial motion to reopen. That deadline is imposed for the

Court’s administrative convenience so that reopened cases do not linger without the

moving party timely taking the action previewed in the motion to reopen. The 14-

day deadline is not otherwise grounded in the United States Bankruptcy Court, the

Federal Rules of Bankruptcy Procedure or the Court’s local rules. It is not intended

to limit a party’s substantive rights to reopen a case or confer rights on any other

party who might otherwise oppose further administration of the case or a

proceeding therein. And because reopening a case is largely an administrative act,

such relief is generally granted, so long as the associated fee, if applicable, is paid

(as it was here). As such, the Court is not included to deny the Motion based on

Debtors’ failure to comply with the Court’s order.




1PHH suggests it the Objection that the complaint Debtors intend to file relates to alleged violations
of the discharge injunction.
          In the Objection, PHH also suggests that Debtors’ claims for violation of the

discharge injunction have already been disposed of or adjudicated in another forum

and that Debtors is barred from raising them again here. Those arguments,

however, go to the merits of any complaint Debtors ultimately file and not to the

Motion.

          For these reasons, the Court GRANTS the Motion and OVERRULES the

Objection. Debtors shall have 14 days from the date of this Order to complete their

filing.

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